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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA




 SAMUEL L. KIMBRIL,

                Plaintiff,                                Case No.: 8:22-cv-00401

 v.
                                                   JOINT STIPULATION TO DISMISS
 SOURCE MEDIA, LLC and LYNNLEY
 BROWNING,

                Defendants.




        COMES NOW the parties, SAMUEL L. KIMBRIL, SOURCE MEDIA, LLC, and

LYNNLEY BROWNING and stipulate to the dismissal of the above-entitled action with

prejudice. The parties have entered into a confidential settlement agreement to dismiss

this matter.

        Pursuant to this stipulation, Defendants agree to retract in full the online and printed

publication of the article published on October 17, 2021 and at issue in this matter.

Defendants further agree to remove the article from any website owned or controlled by

them.
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   Dated this 13th day of October, 2023.

                                  SAMUEL KIMBRIL,
                                  Plaintiff,


                                  By:       /s/Michael F. Polk
                                           Michael F. Polk, #21526
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                                           2712 S 87th Ave.
                                           Omaha, NE 68124
                                           polk@wpslawfirm.com



                                  SOURCE MEDIA, LLC and LYNNLEY BROWNING,
                                  Defendants,


                                  By: s/ Lindsay K. Lundholm_
                                  Jill Robb Ackerman (NE# 17623)
                                  Lindsay K. Lundholm (NE# 22224)
                                  Leigh Campbell Joyce (NE# 26218)
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